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 1   DANIEL SHANLEY {021322)
     Email Address: dshanl~deconsel.com
 2   DeCARLO & SHANLE)
     a Professional Corporation
 3   533 S. Fremont Avenue, Ninth Floor
     Los AngelesA California 90071-1 706
 4   Telephone (.l13) 488-4100
     Telecopier (213) 488-4180
 5
     ATTORNEYS FOR DEFENDANTS, CARPENTERS SOUTHWEST
 6   ADMINISTRATIVE CORPORATION and BOARD OF TRUSTEES
     FOR THE CARPENTERS SOUTHWEST TRUSTS
 7

 8                          UNITED STATES DISTRICT COURT
 9                                    DISTRICT OF ARIZONA
10
11   H K B Inc., an Arizona C01J?9_!ation,          CASE NO. 2:16-cv-03799-DJH
     doing_ business as SOUTHWEST
12   INDUSTRIAL RIGGING
                                                    CORPORATE DISCLOSURE
13                       Plaintiff,                 STATEMENT

14   v.
15   BOARD OF TRUSTEES FOR THE
     CARPENTERS SOUTHWEST
16   TRUSTS~ erroneously sued as BOARD
     OF TRU~TEES FOR THE SOUTHWES
17   CARPENTER'S SOUTHWEST
     TRUST; CARPENTERS SOUTHWEST
18   ADMINISTRATIVE CORPORATION,
     a California non-profit corporation;
19
                         Defendants.
20
21           This Corporate Disclosure Statement is filed on behalf of BOARD OF
22   TRUSTEES FOR THE CARPENTERS SOUTHWEST TRUSTS, erroneously sued
23   as BOARD OF TRUSTEES FOR THE SOUTHWEST CARPENTER'S
24   SOUTHWEST TRUST; CARPENTERS SOUTHWEST ADMINISTRATIVE
25   CORPORATION, a California non-profit corporation in compliance with the
26   provisions of: (check one)
27   X       Rule 7.1, Federal Rules of Civil Procedure, a nongovernmental corporate
28   party to an action in a district court must file a statement that identifies any parent
         Case 2:16-cv-03799-DJH Document 13 Filed 11/22/16 Page 2 of 3


 1   corporation and any publicly held corporation that owns 10% or more of its stock
 2   or states that there is no such corporation.
 3          Rule 12.4(a)(l), Federal Rules of Criminal Procedure, any nongovernmental
 4   corporate party to a proceeding in a district court must file a statement that
 5   identifies any parent corporation and nay publicly held corporation that owns 10%
 6   or more of its stock or states that there is no such corporation.
 7          Rule 12.4(a)(2), Federal Rules of Criminal Procedure, if an organizational
 8   victim of alleged criminal activity is a corporation the government must file a
 9   statement identifying the victim and the statement must also disclose the
10   information required by Rule 12.4(a)(l).
11          The filing party hereby declares as follows:
12   X      No such corporation.
13          The party is a parent, subsidiary or other affiliate of a publicly owned
14   corporation as listed below.
15          Publically held corporation, not a party to the case, with a financial interest
16   in the outcome.
17          Other.
18          A supplemental disclosure statement will be filed upon any change in the
19   information provided herein.
20
21          Dated this 22"d day ofNovember 2016.
22
23                                           DeCARLO & SHANLEY,
                                             a Professional corporation,
24
25                                           By:~ar/e/# J'~fi
                                                  ANIEL M. S ANLEY
26                                           Attorneys for Defendants
27
28

                                                2
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                             CERTIFICATE OF SERVICE

                      (H K B, Inc., etc., v. Board of Trustees, etc.)
                     (USDC-Arizona Case No. 2:16-cv-03799DJH)


X   I hereby certify that on November~ 2016, I electronically transmitted the attached
    document, Corporate Disclosure Statement, to the Clerk's Office using the CM/ECF
    System for filing and transmittal of a Notice of Electronic Filing to the following
    CM/ECF registrants:

          James Edward Holland, Jr.- jholland@stinson.com,cbarajas@stinson.com



X   I hereby certify that on November~' 2016, I served the attached document by U.S.
    Mail, postage prepaid thereon on the following, who are not registered participants of the
    CM/ECF System.

          Javier Torres
          Stinson Leonard Street, LLP- Phoeniz, AZ
          1850 N. Central Avenue, Suite 2100
          Phoenix, Arizona 85004




                                          DeCARLO & SHANLEY,
                                          a Professional Corporation
                                          533 S. Fremont Avenue, Ninth Floor
                                          Los Angeles, California 90071
                                          Telephone (213) 488-4100
                                          Telecopier (213) 488-4180
